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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ALLEN TANNENBAUM                                   NOTICE OF DISMISSAL OF CIVIL
                                                    ACTION WITHOUT PREJUDICE
                            Plaintiff,              (FRCP 41(a)(1)(A)(i))

                                                    Case No.: 1:19-cv-4750
                v.


 UNIVERSAL MUSIC GROUP, INC.

                            Defendant.



       It is hereby noticed that above in captioned case is voluntarily dismissed without

prejudice.

 /s/Richard Liebowitz
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 Dated: May 28, 2019

 Attorneys for Plaintiff Allan
 Tanennbaum

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